8:03-cr-00290-RFR-SMB   Doc # 285   Filed: 09/02/05    Page 1 of 1 - Page ID # 2519

                IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:03CR290
                              )
          v.                  )
                              )
KEVIN BIRDINE,                )                       ORDER
                              )
               Defendant.     )
______________________________)


           IT IS ORDERED that a hearing on plaintiff’s motion for

Rule 35 (Filing No. 284) is scheduled for:

                 Thursday, September 8, 2005, at 10 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse,

Omaha, Nebraska, or as soon thereafter as may be called by the

Court.   Defendant need not be present.

           DATED 2nd day of September, 2005.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _________________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court
